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                              United States District Court
                                        for the
                              Southern District of Florida

  Ramon Reascos-Renia, Petitioner,        )
                                          )
  v.                                      )
                                            Civil Action No. 17-21514-Civ-Scola
                                          )
  United States of America,               )
  Respondent.                             )

       Order Adopting Magistrate Judge’s Report And Recommendation
        This case was referred to United States Magistrate Judge Patrick A.
  White, consistent with Administrative Order 2003-19 of this Court, for a ruling
  on all pre-trial, nondispositive matters and for a report and recommendation
  on any dispositive matters. On April 26, 2017, Judge White issued a report,
  recommending that the Court deny the petition for writ of habeas corpus and
  dismiss the case. (Report of Magistrate, ECF No. 5.) The Petitioner has not filed
  objections to the report, and the time to do so has passed.
        The Court has considered Judge White’s report, the record, and the
  relevant legal authorities. The Court finds Judge White’s report and
  recommendation cogent and compelling. The Court affirms and adopts Judge
  White’s report and recommendation (ECF No. 5). The Court denies the petition
  for writ of habeas corpus (ECF No. 1). The Court does not issue a certificate of
  appealability. Finally, the Court directs the Clerk to close this case.
        Done and ordered, at Miami, Florida, on May 17, 2017.

                                               _______________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
